       Case 1:22-cv-04149-WMR Document 37 Filed 01/23/23 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )      CIVIL ACTION NO.:
vs.                                 )      1:22-cv-04149-WMR
                                    )
FELICIA FRANKLIN, in her individual )      JURY TRIAL DEMANDED
and official capacities;            )
ALIEKA ANDERSON, in her individual )
and official capacities;            )
GAIL HAMBRICK, in her individual )
and official capacities; and        )
CLAYTON COUNTY, GEORGIA,            )
                                    )
                                    )
      Defendants.                   )

                                    ORDER

      This matter is before the Court on Defendants’ Consent Motion for an

Extension of Time to Reply to in Support of Their Motion to Dismiss Plaintiff’s

Complaint. Plaintiff having consented to it, and for good cause shown, the Motion

is GRANTED. Defendants’ deadline to reply in support of their motion to dismiss

[ECF No. 22] is extended to January 30, 2023.

      IT IS SO ORDERED, this 23rd day of January, 2023.
